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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA


                       v.
                                                      Case No. 21-cr-34 (CRC)


 THOMAS ROBERTSON,


                 Defendant.




                                            ORDER
       To ensure the proceedings in this matter are conducted in a fair and orderly manner, it is
hereby ORDERED that: The original exhibits admitted in evidence and published to the jury will
not be available to the public for copying or inspection during trial. The admitting party shall
make available to the media at the end of the trial day a copy of any admitted exhibit that has
been published to the jury and not restricted by the Court for dissemination. The government
may make exhibits available using the “drop box” technical solution described in Standing Order
21-28, In re: Media Access to Video Exhibits.

SO ORDERED.


Dated: April 1, 2022




                                                    CHRISTOPHER R. COOPER
                                                    United States District Judge



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